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                      Exhibit 39
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                                                     2362


                      LEBOEUF, LAMB, GREENE & MACRAE LLP

NEW YORK                                     12 5 WEST 55TH STREET                                             LONDON
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WASHINGTON, D.C.                                                                                          PARTNERSHIP

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                                                                      June 20, 2005

         BY HAND & ELECTRONIC FILING

       The Honorable Viktor V. Pohorelsky
       United States Magistrate Judge
       United States District Court
       Eastern District ofNew York
       225 Cadman Plaza East
       Brooklyn, NY 11201

                                   Linde, et al. v. Arab Bank, PLC, 04-2799 (NG) (VVP)
                         Re:       Litle, et al. v. Arab Bank, PLC, 04-5449 (NG) (VVP)
                                   Coulter, et al. v. Arab Bank, PLC, 05-365 (NG) (VVP)
                                   Almog, et al. v. Arab Bank, PLC, 04-5564 (NG) (VVP)
                                   Afriat-Kurtzer, et al. v. Arab Bank, PLC, 05-388 (NG) (VVP)
                                   Defendant's Opposition to Plaintiffs' Motion to Compel

          Dear Judge Pohorelsky:
                        We represent defendant Arab Bank plc ("Arab Bank" or the "Bank"). We write
         to oppose plaintiffs' letter brief to the Court dated June 3, 2005 ("Plaintiffs' Letter Brief'), in
         which plaintiffs have requested an order compelling the Bank to produce certain documents.

                         The five related actions before this Court have been commenced by more than
         2,000 plaintiffs. Each claims injury as the result of a specific incidence of violence mostly in
         Israel, Gaza, or the West Bank. Plaintiffs allege that certain organizations are responsible, or
         have claimed responsibility, for the attacks upon them. Plaintiffs appear to contend that three
         organizations, in particular -- Hamas, the Al Aqsa Martyrs Brigade, and the Palestinian Islamic
         Jihad -- are responsible for substantially all of their injuries. During the Status Conference
         before this Court on April 20, 2005, for instance, Mark Werbner, who provided an "overview"
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 on behalf of all plaintiffs, stated that "in 99 percent ... it's really Hamas, Islamic Jihad and one
 of the Palestinian Fattah Tonzim [sic]." (Conf. Tr. at 4, 7.) 1

                 It is notable, however, that the discovery sought by plaintiffs in these actions is
 not calculated to obtain documents relevant to these three organizations, or other organizations
 that are specifically alleged to have received material support from Arab Bank. To the contrary,
 plaintiffs have demanded discovery that in every respect resembles the traditional fishing
 expedition. (See, e.g., Pls. Doc. Reg. Nos. 6, 7, 13, 15, requesting information concerning
 payments to and accounts held by unidentified "family members" of those killed in the Second
 Intifada; Pls. Doc. Reg. No. 19, 20, seeking personal financial information concerning unnamed
 individuals without alleged connection to the incidents at issue.)

               At the April 20, 2005 conference, the Court made certain observations in the
 course of Mr. Werbner's remarks. Among other things, the Court noted that:

          •        "I presume you're not going to ask them for every transaction that occurred on or
                   around [the date on which a] particular incident occurred." (Conf. Tr. at 22);

          •        "You want e-mails ... and they're confined to a set of recipients and senders;
                   right?" (Conf. Tr. at 23);

 In fact, however, the plaintiffs have refused to tailor their requests to the allegations of their
 pleadings in this fashion.

 I.       THE BANK HAS AGREED TO PRODUCE DOCUMENTS RELEVANT TO THE
          ALLEGATIONS OF THE COMPLAINT

                 The plaintiffs freely acknowledge in their Letter Brief that they are unwilling to
 limit discovery to the particular incidents at issue in the complaints and to the entities and
 organizations that are alleged to have been aided and abetted by Arab Bank. Plaintiffs instead
 seek far broader discovery with respect to "other incidents of the same type." (Pls. Ltr. Br. at 3.)
 Plaintiffs have done nothing to define such "other incidents of the same type," however, nor have
 they specified why such incidents are relevant to the particular injuries they allege. If, in fact, as
 Mr. Werbner claims, "99 percent" of all plaintiffs' injuries are attributable to three organizations,
 it is surely unreasonable for plaintiffs to now seek the production of records relating to "all
 payments relating to the families or representatives of all ... Palestinians in Israeli custody,"
 among other irrelevant and overbroad requests. (Pls. Doc. Reg. No. 6, 7, 8, 22.)

                The Barik has agreed to produce documents relating to the plaintiffs' specific
 claims of injury arising from the alleged conduct of particular assailants. In other words, the
 Bank will search for, and produce subject to governing bank secrecy laws, transactional records,
 if such records exist, involving identified assailants who are alleged to have participated in

            The transcript of the April 20, 2005 Conference ("Conf. Tr.") is conference is attached as Exhibit 8 to the
 letter to the Court of Kevin Walsh dated June 3, 2005.
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 specific acts of violence and to have been aided and abetted by Arab Bank. This is the proper
 scope of discovery. By comparison, it is unreasonable to require Arab Bank to produce records
 of hundreds of thousands of transactions entirely unrelated to the allegations of the complaint,
 merely because plaintiffs believe they are entitled to obtain evidence of "other incidents of the
 same type." (Pls. Ltr. Br. at 3.)

                 The Bank has agreed, moreover, to search for responsive information by
 searching for the names of particular individuals and entities identified by the plaintiffs in their
 complaints. Such a production is neither "overly restrictive" nor "inappropriate," as plaintiffs
 argue; to the contrary, it is a production which corresponds to the facts as alleged. The Bank has
 also offered to search for transactional records involving identified family members of the
 alleged assailants. Thus, to the extent that plaintiffs allege that the father of an assailant has
 received a payment processed by Arab Bank, the Bank has agreed to search for any record of
 such a transaction. It cannot do so, however, unless the plaintiffs provide the names of such
 family members, as well as any other relevant information in their possession. To date, however,
 plaintiffs have not done so; instead, they have sought to impose the entirely unreasonable burden
 upon the Bank of identifying the "family members" of assailants whom the plaintiffs have
 themselves been unable to identify. Nor is it reasonable to require the Bank to identify
 "Martyrs," "Shuhada," or "suicide bombers" (Pls. Doc. Reg. Nos. 6, 7, 13, 15) whom the
 plaintiffs themselves have not identified.

                The failure to specify records by name plainly contravenes Rule 34, which
 requires that a document request "shall set forth, either by individual item or by category, the
 items to be inspected and describe each with reasonable particularity." Fed. R. Civ. P. 34. The
 "test is whether a reasonable person would know what documents or things are called for in the
 request." 7 James Wm. Moore, et al., Moore's Federal Practice, §34.11 (3d ed. 1999).

                 A random selection of plaintiffs' requests reveals the manifold ways in which
 these requests fail to comply with Rule 34. Plaintiffs' Document Request No. 7, for instance,
 seeks documents concerning payments made through Arab Bank "to the families or
 representatives of all persons, including so called martyrs or Shuhada as defined herein, killed as
 a result of injuries sustained during the Second Intifada." Plaintiffs' Document Request No. 14
 similarly seeks databases or lists that "contain" names of "Palestinians in Israeli custody,
 martyrs, suicide bombers or other persons killed or injured during the Second Intifada."

                 It is self-evident that the Bank has no better means to identify "Palestinians in
 Israeli custody" than do the plaintiffs, nor is it remotely apparent why it should be required to do
 so to discharge its discovery obligations in this case. See, e.g., Lemanik v. McKinley Allsopp,
 Inc., 125 F.R.D. 602, 608 (S.D.N.Y. 1989) (denying defendant's motion to compel the plaintiff
 Swiss financial institution to search its customer files to determine if customers "gave
 instructions inconsistent with reliance, or other essential elements of [plaintiff's] cause of action
 for securities fraud"). Indeed, requests of this sort, which bear no apparent relationship to the
 particular injuries allegedly suffered by the plaintiffs and instead focus upon the "Second
 Intifada," compel the inference that the plaintiffs' true purpose is a political one.
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 II.      PLAINTIFFS' REQUESTS ARE OVERBROAD AND ARE NOT TAILORED TO
          THE ALLEGATIONS OF THE COMPLAINTS

                 Substantially all of plaintiffs' document requests are overbroad. For example,
 notwithstanding the statement of Mr. Werbner that "99 percent" of the attacks at issue in these
 actions are attributable to Hamas, the Al Aqsa Martyrs Brigade and the Palestinian Islamic Jihad,
 plaintiffs have sought information from the Bank about a host of other organizations, many of
 which are not identified in the complaint. Plaintiffs' Document Request No. 19, for instance,
 seeks "all documents which refer or relate to accounts maintained at Arab Bank in the name of or
 for the benefit of' 65 organizations, many of which are neither alleged to have had any role in
 the events at issue nor named in the complaints. It is plainly unreasonable to request that the
 Bank produce "all documents pertaining to accounts" for such 65 organizations. The wholesale
 production of all banking records for each of these organizations is obviously not a legitimate
 discovery request. Rather, it appears that plaintiffs are attempting to enlist the discovery
 processes of this Court as a means of scrutinizing every action of every charitable organization in
 the West Bank and Gaza.

                 Such an effort is, of course, impermissible. See, e.g., Lemanik, 125 F.R.D. at 608
 (opponent not permitted "walk through clients' confidential financial transactions in the hope
 that something of arguable relevance might tum up"). 2 It appears obvious that plaintiffs are
 seeking to use the Bank's account records to conduct this very type of "walk through."

                 With respect to account information concerning alleged "front" organizations, the
 Bank has agreed to produce documents, to the extent any exist, that concern payments to such
 organizations that allegedly funded the incidents that allegedly gave rise to plaintiffs' injuries.
 The Bank has also agreed to search for documents concerning payments, if any, to Hamas, Al
 Aqsa Martyrs Brigade or Palestinian Islamic Jihad, the three organizations allegedly responsible
 for "99 percent" of the plaintiffs' injuries at issue. This proposal plainly obviates any need for
 the intrusive and overbroad search that plaintiffs seek in Plaintiffs' Document Request Nos. 15,
 19, 20, 21, 26, 28, 29, 30 and 34.

 III.     PLAINTIFFS' REQUEST   FOR DOCUMENTS      CONCERNING THE
          TRANSACTIONS DIRECTED BY THE SAUDI COMMITTEE IS OVERBROAD

              Plaintiffs contend that because they have characterized the charitable activities of
 the Saudi Committee as a "death and dismemberment scheme . . . for all actual and potential



          In Plaintiffs' Document Request Nos. 11 and 16, for instance, plaintiffs seek documents concerning alleged
 donations to "Palestinians injured in the Second Intifada" and to the "Fund for Support of the Persistence of the
 Palestinian People." Evidence of any such donations would not, of course, be probative of plaintiffs' allegations,
 since no such donations are alleged to relate to the specific incidents at issue, nor, in any event, would they
 constitute evidence of material support for the alleged terrorist acts. Plaintiffs' contention that any donation to
 support those injured in the Second Intifada is somehow evidence of a pattern of bad acts (Pls. Ltr. Br. at 6) plainly
 does not articulate a sustainable theory of discovery.
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 Palestinian terrorists," they are entitled to discovery of more than 200,000 transactions directed
 by the Saudi Committee. Such an argument is meritless.

                Plaintiffs' requests are overbroad because they are not confined to payments to
 those individuals or entities that are alleged to have harmed them. Such alleged harm delimits
 the universe of what is relevant to plaintiffs, and the production of documents concerning
 payments made at the instruction of the Saudi Committee should thus be confined to documents
 evidencing transactions which are alleged to have resulted in the injuries at issue in these
 proceedings.

 IV.    THE "OCC DOCUMENTS" THAT PLAINTIFFS DEMAND ARE EITHER
        PRIVILEGED OR AVAILABLE ELSEWHERE

                Plaintiffs' Document Request No. 5 seeks "all documents which refer or relate to
 any pending investigation of Arab Bank by any agency of the U.S. government or discussions or
 communications between Arab Bank and any agency or office of the U.S. government ...
 including but not limited to the pending investigation by the Office of the Comptroller of the
 Currency." This request is grossly overbroad. It is not tailored, moreover, in any respect to the
 allegations of the complaint, but instead reflects an effort to invade the Bank's privileged
 relationship with its examiners.

                 Although plaintiffs seek to cloak themselves in the public interest, it is well-
 settled that the examination privilege exists to serve this interest by shielding the examination
 process from private litigants and permitting free and open communications between institutions
 and their regulators. Plaintiffs concede this in their letter acknowledging that they have no right
 to non-factual, deliberative matter: "[p]laintiffs' request has been tailored to avoid privileged
 materials." (Pls. Ltr. Br. at 7.)

                 In conceding that they will respect the examination privilege, the plaintiffs have,
 moreover, acknowledged the importance of the public purpose served by this privilege. The
 bank examination privilege has long been recognized as a doctrine born of the "practical
 necessity" of having banks and their regulators communicate freely in a cooperative environment
 of trust and reciprocation. In re Subpoena Served Upon the Comptroller of the Currency, 967
 F.2d 630, 633 (D.C. Cir. 1992); Bank of China v. St. Paul Mercury Ins. Co, No. 03 Civ. 9797,
 2004 WL 2624673, at *4 (S.D.N.Y. Nov. 18, 2004) (The purpose of the bank examination
 privilege is to encourage "openness and honesty between bank examiners and the banks they
 regulate."). As noted, "[b]ank safety and soundness supervision is an iterative process of
 comment by the regulators and response by the bank. The success of the supervision therefore
 depends vitally on the communication between the regulated banking firm and the bank
 regulatory agency." Id. Accordingly, the OCC owes a duty to regulated banks to maintain the
 confidentiality of its communications with those banks and banks have a duty, in tum, to
 maintain the confidentiality of bank-created documents submitted to the OCC. In re Bank One
 Sec. Litig., 222 F.R.D. 582, 590 (N.D. Ill. 2004) ("banks have a duty of confidentiality as to
 bank-created documents submitted to the OCC").
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                 Plaintiffs nonetheless contend that the Bank has "flatly refused" to provide any
 documents in response to their request for OCC documents. (Pis. Ltr. Br. at 7.) This statement
 is not accurate; nor is it true, as plaintiffs argue, that Arab Bank is seeking to shield otherwise
 responsive documents from production merely because such documents may have been
 separately provided to the OCC in connection with its investigation and examination of the
 Bank. To the contrary, the Bank has stated to plaintiffs that it is willing to produce documents;
 to the extent any exist, concerning the incidents described in the complaints that are claimed to
 have damaged the plaintiffs. The Bank will produce such documents regardless of whether they
 were provided to the OCC; it has never asserted, as plaintiffs now suggest, that it is seeking to
 shield "its internal documents" merely because these documents may have been obtained by the
 OCC. (Pls. Ltr. Br. at 10.) Indeed, this information, such as records regarding particular
 transfers or transactions, has been separately sought by plaintiffs elsewhere in their document
 requests. (See, e.g., Pls. Doc. Req. No. 25.)

                 Plaintiffs also contend that they have no wish to interfere in Arab Bank's
 relationship with its examiners. (Pls. Ltr. Br. at p. 11: "it is important to note that plaintiff's
 actions do not interfere with any government investigation.") Plaintiffs' conduct to date suggests
 otherwise, however. Plaintiffs have, for instance, previously invited the OCC to participate in
 the proceeding before this Court and have advised the OCC that Judge Gershon had requested
 such participation in a statement that led Judge Gershon to reprimand counsel:

        THE COURT:              If you don't understand things that well, I'm going to have
        to spell this out chapter and verse. The letter that you sent to the OCC
        mischaracterizes my ruling. I consider that an exceedingly serious matter and if
        anything like that happens again, I will take more serious action than I'm going to
        do today, which is to identify the errors and direct you not to do it again. But I
        tell you that if you do anything like that again, I will not just let it slide.

        MR FRIEDMAN:           I apologize. It was not my intent.

        THE COURT:             It has to have been your intent because it's perfectly
        obvious what went on here. You identified to the OCC that the court had invited
        them to address this ....



        THE COURT:              I did not invite [the OCC] to appear. You are inviting them
        to appear. It's a big difference.



        THE COURT:          And this is never to happen again because the remedy that
        I'm ordering now will not be enough if anything like this happens again. I'm
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        telling you, it's going to be directed at counsel personally, they cannot behave in
        this fashion. I will not tolerate it.

 (Transcript of proceedings before Hon. Judge Nina Gershon on Nov. 5, 2004 7:9-23; 8:9-10;
 9:12-16 (emphasis supplied), attached hereto as Exhibit 1.)

 V.     THE APPLICABILITY OF FOREIGN BANK SECRECY LAWS MUST BE
        DETERMINED ON A COUNTRY-BY-COUNTRY BASIS

                Plaintiffs have requested the opportunity to submit briefs to the Court with respect
 to the applicability of foreign bank secrecy laws. (Pls. Ltr. Br. at 12.) Arab Bank believes that
 this Court should entertain such briefing from both plaintiffs and the Bank in light of the fact that
 the discovery matters before this Court can be resolved only after consideration of foreign law.

                In particular, the bank secrecy laws of Gaza, the West Bank, and Jordan are
 implicated by plaintiffs' discovery requests. Because plaintiffs have requested information about
 an account maintained in Beirut, Lebanese bank secrecy law is also at issue. (Pis. Doc. Req. No.
 17.)

                These bank secrecy laws vary by country, of course. In Lebanon, for example,
 local law prohibits banks from disclosing to third parties the names of clients, their assets and the
 movements of their accounts, among other information. This prohibition can be lifted only by
 application to the Special Investigation Commission of the Lebanese Central Bank. Unless the
 discovery process overseen by this Court takes laws such as this into consideration, Arab Bank
 will be exposed unfairly to civil and criminal penalties.

 VI.    PLAINTIFFS' REQUESTS FOR DISCOVERY CONCERNING THE BANK'S
        ASSETS ARE IMPROPER

                Plaintiffs concede that "asset discovery should be confined to post-judgment
 proceedings" (Pis. Ltr. Br. at 13), but nonetheless have demanded documents concerning Arab
 Bank's assets and net worth. (Pis. Doc. Req. Nos. 2-4 & 24.) They have failed to articulate any
 reason why such a departure from the "general rule" should be permitted here.

                 Plaintiffs have instead informed the court that "Arab Bank . . . is ceasing its
 operations in the United States" in an attempt to suggest that a miscarriage of justice will result
 unless asset-related discovery is permitted. This statement is false, as is plaintiffs' suggestion
 that Arab Bank is moving financial assets held in New York out of the country. (Pls. Ltr. Br. at
 14.) As the Consent Order annexed by plaintiffs as Exhibit 6 to Plaintiffs' Letter Brief reflects,
 Arab Bank is converting its New York Branch to a federal agency (Article VII at p. 15), not
 "ceasing its operations in the United States," as plaintiffs claim. The Consent Order also
 contains extensive provisions regarding an increase in the Capital Equivalency Deposit required
 of the Bank in New York, as well as other provisions regarding Asset Maintenance. (Articles I
 and II.) Plainly, the Bank's asset base is not "moving out of the country," as plaintiffs contend.
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 VII.   PLAINTIFFS' UNTIMELY REQUEST FOR DOCUMENTS GOING BACK AN
        ADDITIONAL FIVE YEARS IS UNWARRANTED

                In their document requests, plaintiffs have defined the "relevant time period" as
 "January 1, 2000 through the present." (Pls. Ltr. Br. Ex. 1, at p. 6.) Plaintiffs now contend that
 the relevant time period should begin on January 23, 1995, and that an intended revision
 reflecting such a change was not made so because of inadvertence. (Pls. Ltr. Br. at 16.)

                 The dramatic expansion of the relevant time period in this fashion is improper.
 The plaintiffs' complaints are devoted in substantial part to allegations of an "insurance scheme"
 that allegedly was implemented after September 2000, the date on which the Second Intifada is
 alleged to have begun. This Court should reject the untimely efforts of certain plaintiffs to recast
 the relevant time frame for discovery, especially since expanding such a time frame by five full
 years will result in enormous additional burden upon the Bank.

 VIII. DISCOVERY OF ARAB BANK SUBSIDIARIES IS NOT APPROPRIATE

                Plaintiffs contend that "Arab Bank is required to produce documents ... in the
 possession of its subsidiaries." (Pls. Ltr. Br. at 15.) Such a request is unreasonably burdensome
 because it will require the search for documents in places where no responsive documents are
 likely to be found. Rather, the search for relevant, responsive documents should be conducted
 only in those locations where they are most likely to exist: New York, Jordan, Gaza, and the
 West Bank. It is plainly unreasonable to require that the Bank search each of its global facilities
 -- in such places as Singapore, China and Australia -- where there is no likelihood that
 responsive documents will be found.

                 Arab Bank is a global institution with presence in 28 countries. With the sole
 exception of an account alleged to have been maintained in Lebanon, there are no facts alleged in
 the complaints that suggest that responsive documents are likely to exist outside of the Bank's
 facilities in New York, Jordan, the West Bank and Gaza. To the extent that plaintiffs are now
 able to demonstrate that particular subsidiaries of the Bank are likely to possess documentation
 relevant to their claims -- something they have yet to do -- the Bank will, of course, comply with
 its obligation to search for such documentation. The Bank, however, cannot search the millions
 of transactional records maintained throughout its global operations without any legitimate
 direction or specification from plaintiff.

 IX.    THIS COURT SHOULD ENTER A SCHEDULING ORDER

                The Bank agrees that a scheduling order, as suggested by plaintiffs, would assist
 the conduct of discovery in this action. We respectfully suggest that such an order take several
 matters into consideration:
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        •        While Arab Bank's motions to dismiss the five related actions are pending, the
                 discovery efforts of the parties should be focused upon the most readily available
                 evidence, which includes records located in New York.

        •        The application of foreign bank secrecy laws must be considered by this Court.
                 Arab Bank respectfully requests that this Court establish a briefing schedule with
                 respect to the requirements of bank secrecy laws in Jordan, Gaza and the West
                 Bank and Lebanon. To the extent that plaintiffs can establish to the satisfaction of
                 this Court that discovery is appropriate from other foreign jurisdictions, this Court
                 should require briefing with respect to the bank secrecy laws of these
                 jurisdictions.

        •        The timing of document production from foreign countries should await
                 resolution of these bank secrecy issues and must also take into consideration the
                 fact that many documents are written in foreign languages and are in locations
                 that are not readily accessible to counsel.

                                            CONCLUSION

                 For the foregoing reasons, the Bank respectfully requests that the Court reject
 plaintiffs' motion to compel production in its entirety.




                                                       Respectfully submitted,

                                                        (~
                                                       Kevin Walsh

 cc: All counsel on attached service list
 Ends.
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                                         SERVICE LIST
   BY ELECTRONIC DELIVERY:

   IN LITLE, ET AL. V. ARAB BANK, PLC. CV 04-5449

   Liaison Counsel for Litle Plaintiffs:
   James P. Bonner, Esq (jbonner@lawssb.com)
   SHALOV, STONE & BONNER LLP
   485 Seventh Avenue
   Suite 1000
   New York, N.Y. 10018
   Telephone: (212) 239-4340
   Facsimile: (212) 239-4310

   Co-Counsel for Litle Plaintiffs:
   Mark S. Werbner, Esq.(mwerbner@swtriallaw.com)
   SAYLES WERBNER
   4400 Renaissance Tower
   1201 Elm Street
   Dallas, TX 75270
   Telephone: (214) 939-8711
   Facsimile: (214) 939-8787

   Richard D. Heideman, Esq. (rheideman@HLNKlaw.com)
   HEIDEMAN LEZELL NUDELMAN & KALIK, P.C.
   1146 19th Street, NW
   Fifth Floor
   Washington, D.C. 20036
   Telephone: (202) 462-8990
   Facsimile: (202) 462-8995

   Steven R. Perles, Esq.(sperles@perleslaw.com)
   PERLES LAW FIRM, P.C.
   1615 New Hampshire Avenue
   Suite 200
   Washington, D.C. 20009
   Telephone: (202) 745-1300
   Facsimile: (202) 745-1858

   IN LINDE, ET AL. v. ARAB BANK, PLC, CV 04-2799 & COULTER, ET AL. v. ARAB
   BANK, PLC, CV 05-365

   Liaison Counsel for Linde Plaintiffs; Co-counsel for the Coulter Plaintiffs:
   Andrew D. Friedman, Esq. (afriedman@whesq.com)
   Joshua D. Glatter, Esq. (jglatter@whesq.com)
   WECHSLER HARWOOD LLP
   488 Madison Avenue
   8th Floor
   New York, NY 10022
   Telephone: (212) 935-7400
   Facsimile: (212) 753-3630


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                                         #: 2372




   Counsel for the Coulter Plaintiffs; Co-Counsel for Linde Plaintiffs:
   Gary M. Osen, Esq.(gmo@osen.us)
   Peter Raven-Hansen (praven@law.gwu.edu)
   OSEN & ASSOCIATES, LLC
   700 Kindermack Road
   Oradell, NJ 07649
   Telephone: (201) 265-6400
   Facsimile: (201) 265-0303

   Robert A. Swift, Esq. (rswift@kohnswift.com)
   Steven A. Steingard, Esq.(ssteingard@kohnswift.com)
   KOHN SWIFT & GRAF, P.C.
   One South Broad Street
   Suite 2100
   Philadelphia, PA 19107
   Telephone: (215) 238-1700
   Facsimile: (215) 23 8-1968

   IN ALMOG. ET AL. . v. ARAB BANK. PLC, CV 04-5564 & AFR/AT-KURTZER. ET AL. V.
   ARAB BANK. PLC. CV 05-388

   Counsel for Almog & Afriat-Kurtzer Plaintiffs
   Ronald L. Motley, Esq.(rmotley@mot1eyrice.com)
   Jodi W. Flowers, Esq.(jflowers@motleyrice.com
   John M. Eubanks, Esq. (jeubanks@motleyrice.com)
   MOTLEY RICE LLC
   28 Bridgeside Boulevard
   P.O. Box 1792
   Mt. Pleasant, SC 29465
   Telephone: (843) 216-9000
   Facsimile: (843) 216-9450

   Co-Counsel for Almog Plaintiffs
   Alan Gerson, Esq.(gerson@gilgintl.org)
   ATTORNEY AT LAW
   2131 S. Street
   Washington, D.C. 20008
   Telephone: (202) 966-8557




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                    EXHIBIT 1
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                                         #: 2374




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         1                                UNITED STATES DISTRICT COURT
                                          EASTERN DISTRICT OF NEW YORK
         2
          3                           -    -   -    -   -   - X
                                                                  CV 04-2799
          4    LINDE, et al,
          5                      Plaintiff,
          6                      v.                                 united states courthouse
                                                                    Brooklyn, New York
          7    ARAB BANK, PLC
          8                                                         November 5, 2004
                                 Defendant.                         11:30 a.m.
          9
                                                        - - X
         10
         11                      TRANSCRIPT OF PROCEEDINGS
                                 BEFORE THE HONORABLE NINA GERSHON
         12                      UNITED STATES DISTRICT JUDGE

         13
               APPEARANCES:
         14
               For the Plaintiff:                   WECHSLER HARWOOD Ll.P
         15                                         488 Madison Avenue
                                                    New York, N.Y. 10022
         l(j                                        BY: ANDREW D, FRIEDMAN, ESQ.
                                                         JOSHUA D. GLATTER, ESQ.
         17                                                       and
                                                             GARY M. OSEN, ESQ.
         18
               For the Defendant:                   WINSTON & STRAWN
         19                                         200 Park Avenue
                                                    New York, N.Y. 10166
         20                                         BY: MICHAEL D. BURROWS, ESQ.
                                                         CATHERINE B. SCHUMACHER, ESQ.
         21
         22    court Reporter:                      Burton H. Sulzer
                                                    225 Cadman Plaza East
         23                                         Brooklyn, New York 11201
                                                    (718) 260-4526
         24                                         Fax (718) 260-4504
         25    Proceedings recorded by mechanical stenography, t.ranscr·ipt
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          1              (Open court.)
          2              MR. FRIEDMAN:       Andrew Friedman, wechs·1er Harwood,
          3   for the plaintiff.
          4              MR. GLATTER:     Joshua Glatter, with Mr. Fhedman.

          s              MR. OSEN:     Gary osen for plaintiffs.
          6              MR. BURROWS:      Michael Burrows, Winston & Strawn,
          7   for the defendant.
          8              MS. SCHUMACHER:      Catherine Schumacher, Winston &
          9   Strawn, for defendant.
         10              THE COURT:      can I have Mr. Friedman and Mr.
         11   Burrows.   I assume you're the two who will speak.
         12              counsel, I scheduled this conference, which T
         13   expect to be very brief, in response to the letters that I
         14   received, first, from the defense, dated October 18, and then
         15   the responding letter from plaintiff, dated October 22.
         16              Have there been any new developments with respect
         17   to those letters that r should know about before I speak?
         l8              MR. FRIEDMAN:       Not that I'm aware.
         19              MR. BURROWS:     I don't think so.
         20              THE COURT:     Al I right:.   Then plaintiff's letter
         21   suggested that the plaintiffs didn't feel the need to respond
         22   in detail to the letter because they said they didn't want to
         23   divert judicial resources from the resolution of the
         24   preliminary injunction motion.
         25              1    appreciate your concern for my time, but r think


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          1   you have in fact wasted my time.     If you want to address the
          2   merits of the letter now, you may, but it seems to me patent
          3   on the face of the letter that you sent to the occ that the
          4   letter mischaracterized my order, and I think I have a deep
          5   interest in making sure that what the cou,:-t does is properly
          6   represented.
          7             MR. FRIEDMAN:    Your Honor, I didn't believe that
          8   it does misrepresent your order, but we were told by the occ
          9   that the document should go to FinCEN not to occ, in any
         10   event, and I feel very comfortab'le with allowing the
         11   defendants to draft a cover letter, if they would like to.
         12             It wasn't intended to do anything other than
         13   explain to the lawyers over at occ that if they felt that the
         14   court was entering into their jurisdiction or whatever it
         15   might be that they wanted to come and appear and that they
         16   could.
         17             To the extent that they responded to us, ·it was
         18   essentially that this wasn't their jurisdiction, that it
         19   should go to a separate division, the FinCEN division, and
         20   that was essentially all that they were going to deal with.
         21             They were attorneys so 1 didn't think I needed to
         22   explain the order to show cause aspect to them, but, as r've
         23   explained to Mr. Burrows as well, r just think that the
         24   documents should be sent to the appropriate governmental
         25   agency and if they have decide that they would like to weigh


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          1   in or whatever that they should or they could.
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                                          1105GERB
          2              I don't care what the cover letter says.          If he
          3   wants to send it to me, that's fine.
          4              MR. BURROWS:      Your Honor,   I   see it a l"ittle
          5   differently.     I think that it's a more serious matter than,
          6   since the ace doesn't want the documents, to forget about
          7   what they did.
          8              what happened is, they show up here a couple of
          9   weeks ago ex parte, without an affidavit, and your Honor
         10   accommodates them, gives them a break because there is a
         11   conference already scheduled the next day or something.
         12   That's fine.     But then they took advantage of that
         13   flexibility by saying to the occ that your Honor had ·invited
         14   the occ into the case.
         15              The damage done by this statement, your Honor, is
         16   itself immeasurable.      This is a statement that they attribute
         17   to a Federal judge.    This is not one of their Internet
         18   comments or some newspaper, this is a Federal jl,Jdge and one,
         19   who r might add, who has been on the bench for 30 years.
         20              so what does   the occ make of this?       How do you fix
         21   this?   l~is is what they think, this is what they told them.
         22   They made it appear that the order you signed was more than
         23   it really was, there is no doubt about it.
         24             Then, is it a coincidence, your Honor, that The
        25    Forward comes out a week later and Mr. Osen is giving them an


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         1    interview about this very injunction proceeding that they
          2   wanted to keep so secret?
          3             And then what happens?       The next week, your Honor,
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                                               1105GERB
         4   the next week they are in Israel advertising.              This is more
         5   champerty; r g~ess this is legalized champerty.              They are in
         6   Israel advertising for more plaintiffs to bring in here.
                          1
         7                    I    think they m·i sled you on the secrecy thing.       I
         8   think that they have not been candid with ,the court and
         9   certainly not with the occ.
        10                    Your Monor now knows, of course, that the occ has
        11   been ·i nforrned of everyth"ing that's happened in this case
        12   since it started in July.            They have been given all the
        13   documents.
        14                    Your Honor should also know that the bank is
        15   cooperating wtth the investigation in Dallas, with the grand
        16   jury investigation going on there, and as they have asked us
        17   for help in documents, we provided those.
        18                    But, your Honor, the letter responding to my letter
        19   says that they deny all of the allegation,s.            I stand by my
        20   i::ont:entfon.        They did it for publicity, they did it so they
        21   could tell clients and perspective clients that that they had
        22   already obtained an order from your Honor to show cause.
        23                what does a layman make of that order to show
        24   cause, the judge knows the bank is bad so she didn't even
        25   give them a chance to be heard, she just signed the order?


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         1   That's what I believe they had in mind, your Honor.
         2                THE       COURT:   With respect to
         3                MR. FRIEDMAN:         With respect to a layman, it was
         4   sent to an attorney who knows what an order to show cause is.
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          5                   we have not revealed any of these proceedings to
          6   anyone.     Mr. Osen didn't give an interview to The Forward.
          7   we have not talked to anybody about this.          we have not sought
          8   pub 'Ii city.     we have not done any of the things that Mr.
          9   Burrows is saying.
         10                   If we were seeking publicity, we wouldn't have
         11   sought this to be under seal and we certainly wouldn't have
         12   started our campa·ign with The Forward, we would have been in
         13   the New York Times and on CNN and everyrhing like that.              That
         14   is just ridiculous to say this is a publicity stunt.
         15                   There are some very serious information and issues
         16   here that the bank still hasn't even bothered to respond to.
         17   They haven't explained one iota why they believe that it's
         18   appropriate to be continuing to hold money for those entities
         19   that have been shown t:o be owned and controlled by Ha.mas;
         20   they haven't: even addressed that.
         21                   THE COURT:   1 didn't call you in to d'iscuss the
         22   preliminary injunction motion, but I do th'ink you must recall
         23   that at the last hearing we discussed how we wou'ld proceed on
         24   the preliminary injunction motion and the defendants were
         25   authorized not to address the specific factual allegations


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          1   but to address the fundamental first issue, which was whether
          2   or not there was any legal right that supported the
          3   plaintiff's request for a prel"iminary injunction.         That was
         4    my ruling at the time.          So I don't think you should be
          5   attacking them for --
          6                   MR. FRIEDMAN:    I don't believe that was your
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         7    ruling.
         8              THE COURT:        I know what my ruling was, sir.
         9              MR. FRIEDMAN:        I didn't understand it to be that.
        10              tHE COURT:        If you don't'understand things that
        11    well, I'm going to have to spell this out fhapter and verse.
        12              The letter that you sent to the occ
        13    rnischara~terizes my ruling.        I consider that an exceedingly
        14    serious matter and if anything like that happens again, I
        15    will have to take more serious action than I'm going to do
        16    today, which is simply to identify the errors and direct you
        1.7   not to do it again.    But I tell you that if you do anything
        18    like that again, I will not let it just slide:
        19              MR. FRIEDMAN:        I apologize.     It was not my intent.
        20              THE COURT:     It has to have been your intent because
        21    it's' perfectly obvious what went on here.
        22              vou identified to the ace that the court had
                                                               ''
        23    i~vited them to address this.          You ~aised ~his and you said
        24    you were going to do it and I acquiesced to that.          It was
        25    certainly not me that issued any kind of direction to the occ


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         1    with respect to their being able to come into this case.
         2              If they choose to come into the case, they'll make
         3    an application to me and I'll consider it.
         4              MR. FRIEDMAN:        I thought that's what I was saying.
         s              THE COURT:        That's not what you said.
         6              MR.   FRIEDMAN:      I   was saying if they wanted to come1
         7    in they could come in.       T thought if you invited them to
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         8   appear they could appear.
         9             THE COURT:     I did not invite them to appear.     You
        10   are inviting them to appear.     It's a big difference.
        11             MR. FRIEDMAN:      okay, I'm sorry, your Honor.
        12             THE COURT:     I have made no finding or ruling at all
        13   on that subject, other than to give you permission that you
        14   could file these papers that you otherwise are saying are
        15   under seal with this government agency.
        16             It's an enormous difference, and if you don't
        17   recognize that difference, that's unfortunate because you may
        18   find yourself in court before me again for other kinds of
        19   proceedings.
        20             MR. FRIEDMAN:      1 recognize it.
        21             THE COURT:     The second thing is that the
        22   description in the letter of the order to show cause is
        23   entirely misleading, entirely misleading, and that is
        24   perfectly obvious.     You identify as if they are decretal
        25   paragraphs of the order to show cause --


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         l             MR. FRIEDMAN:      I put the order to show cause with
         2   the documents, your Honor.
         3             THE COURT:    That's nice.   so the accurate order to
         4   show cause is attached, but that is not sufficient.       You are
         5   not permitted to mischaracterize what I do or any other judge
         6   does for your own purposes, I won't tolerate it.
         7             I think it would be important for you to take the
         8   transcript of this proceeding and submit it to the -- whoever
         9   you submitted this letter to, and to file an affidavit with
                                      Pages
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        10   the court that you have done so.
        11               MR. FRIEDMAN:      sure, your Honor.
        12               THE COURT:     And this is never to happen again
        13   because this remedy that I'm ordering now will not be enough
        14   if anything like this happens again.          I'm telling you, it's
        15   going to be directed at counsel personally, they cannot
        16   behave in this fashion.       I will not tolerate it.
        17               Now,   the preliminary injunction motion, I believe, '
        18   is now fully submitted, but I have not scheduled th·i s for
        19   argument so, unless there was something that anyone needs to
        20   say with respect to it, I could hear you now, but if not, if
        21   I need to hear from you further I'll call you in.
        22               MR. BURROWS:      Thank you, your Honor.
        23               MR. FRIEDMAN:      The only thing I would want to
        24   address is, we would like to send the documents to FinCEN.
        25   L'ike I said, I would invite Mr. Burrows to wr"ite the cover



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         1   letter --
         2               THE COURT:      why should he write the cover letter?
         3   This is bizarre.
         4               MR. FRIEDMAN:      If he thinks -- all right.     I
         5   understand.
         6               THE COURT:     You're an attorney.     You have to be
         7   trusted to write an appropriate cover letter.
         8               MR. FRIEDMAN:      Okay.     I will send this to FinCEN
         9   send with an appropriate cover letter.
        lO               THE COURT:      very good.    Thank you.   I think from
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       11    now on that if you send things, you not only copy Mr. Burrows
       12    but you copy me, which you did not.
       13                MR. FRIEDMAN:      I did copy you.

       14                THE COURT:   On the letter?
       15                MR. FRIEDMAN:     Yes.
       16                THE COURT:      Yes, you did.   Thank you.   According
       17    to your letter -- we did not receive it.         That's what I
        18   thought.    we did not ever receive it although you sent it by
        19   FedEx,     Just make sure we get a copy of the next one.         All
        20   right.     Thank you, counsel.
        21
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